        Case 16-13630-amc                       Doc 83         Filed 07/06/21 Entered 07/06/21 14:31:35                     Desc Main
     Fill in this information to identify the case:            Document Page 1 of 3
     Debtor 1              EUGENE R. COOK


     Debtor 2              MARY ANN COOK
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Eastern District of Pennsylvania
                                                                                    (State)
     Case Number:          16-13630-AMC




Form 4100N
Notice of Final Cure Payment                                                                                                            10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  CIT BANK NA                                                               22

 Last 4 digits of any number you use to identify the debtor's account                         1   8   2   3

 Property Address:                              1372 LAURELWOOD ROAD
                                                POTTSTOWN, PA 19465




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                            Amount

 a. Allowed prepetition arrearage:                                                                                    (a)   $        5,631.54

     b. Prepetition arrearage paid by the trustee :                                                                   (b)   $        5,631.54

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):               (c)   $             -0-

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)                (d)   $             -0-
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                               (e)   $             -0-

 f.       Postpetition arrearage paid by the trustee :                                                              + (f)   $             -0-

     g. Total. Add lines b, d, and f.                                                                                 (g)   $        5,631.54



 Part 3:             Postpetition Mortgage Payment

 Check one

 ¨ Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                   $
         The next postpetition payment is due on                    /    /
                                                                MM / DD / YYYY

 ý Mortgage is paid directly by the debtor(s).


Form 4100N                                                        Notice of Final Cure Payment                                           page 1
    Case 16-13630-amc                Doc 83    Filed 07/06/21 Entered 07/06/21 14:31:35                                 Desc Main
                                               Document Page 2 of 3



Debtor 1     EUGENE R. COOK                                                   Case number   (if known)   16-13630-AMC
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              û/s/ Scott F. Waterman
                    Signature
                                                                                 Date    07/06/2021


 Trustee            Scott F. Waterman

 Address            2901 St. Lawrence Avenue, Suite 100
                    Reading, PA 19606



 Contact phone      (610) 779-1313                                Email   info@ReadingCh13.com




Form 4100N                                        Notice of Final Cure Payment                                                 page 2
    Case 16-13630-amc         Doc 83     Filed 07/06/21 Entered 07/06/21 14:31:35                                  Desc Main
                                         Document Page 3 of 3



Debtor 1     EUGENE R. COOK                                              Case number   (if known)   16-13630-AMC
             Name




History Of Payments
Part 2 - B
Claim ID Name                   Creditor Type               Date         Check # Posting Description                 Amount
22       CIT BANK NA            Pre-Petition Arrears        10/20/2017   1042271 Disbursement To Creditor/Principal 2,682.64
22       CIT BANK NA            Pre-Petition Arrears        11/17/2017   1043419 Disbursement To Creditor/Principal    117.79
22       CIT BANK NA            Pre-Petition Arrears        12/18/2017   1044714 Disbursement To Creditor/Principal    117.79
22       CIT BANK NA            Pre-Petition Arrears        01/19/2018   1046038 Disbursement To Creditor/Principal    117.79
22       CIT BANK NA            Pre-Petition Arrears        02/16/2018   1047337 Disbursement To Creditor/Principal    117.79
22       CIT BANK NA            Pre-Petition Arrears        03/16/2018   1048562 Disbursement To Creditor/Principal    117.79
22       CIT BANK NA            Pre-Petition Arrears        04/20/2018   1049878 Disbursement To Creditor/Principal    117.79
22       CIT BANK NA            Pre-Petition Arrears        05/18/2018   1051237 Disbursement To Creditor/Principal    117.79
22       CIT BANK NA            Pre-Petition Arrears        06/15/2018   1052480 Disbursement To Creditor/Principal    117.80
22       CIT BANK NA            Pre-Petition Arrears        07/24/2018   1053761 Disbursement To Creditor/Principal    117.79
22       CIT BANK NA            Pre-Petition Arrears        08/17/2018   1055071 Disbursement To Creditor/Principal    119.61
22       CIT BANK NA            Pre-Petition Arrears        09/21/2018   1056249 Disbursement To Creditor/Principal    124.02
22       CIT BANK NA            Pre-Petition Arrears        10/19/2018   1057532 Disbursement To Creditor/Principal    124.02
22       CIT BANK NA            Pre-Petition Arrears        11/20/2018   1058805 Disbursement To Creditor/Principal    119.87
22       CIT BANK NA            Pre-Petition Arrears        12/14/2018   1060092 Disbursement To Creditor/Principal    119.87
22       CIT BANK NA            Pre-Petition Arrears        01/18/2019   1100396 Disbursement To Creditor/Principal    119.87
22       CIT BANK NA            Pre-Petition Arrears        02/15/2019   1101883 Disbursement To Creditor/Principal    119.87
22       CIT BANK NA            Pre-Petition Arrears        03/15/2019   1103194 Disbursement To Creditor/Principal    119.87
22       CIT BANK NA            Pre-Petition Arrears        04/18/2019   1104680 Disbursement To Creditor/Principal    119.87
22       CIT BANK NA            Pre-Petition Arrears        05/21/2019   1100396 Cancelled Check To Creditor/Principal-119.87
22       CIT BANK NA            Pre-Petition Arrears        05/23/2019   1106293 Disbursement To Creditor/Principal    239.74
22       CIT BANK NA            Pre-Petition Arrears        06/21/2019   11507855Disbursement To Creditor/Principal    116.76
22       CIT BANK NA            Pre-Petition Arrears        07/19/2019   11509230Disbursement To Creditor/Principal    116.76
22       CIT BANK NA            Pre-Petition Arrears        08/15/2019   11510622Disbursement To Creditor/Principal    116.76
22       CIT BANK NA            Pre-Petition Arrears        09/23/2019   11512134Disbursement To Creditor/Principal    116.76
22       CIT BANK NA            Pre-Petition Arrears        10/22/2019   17190113Disbursement To Creditor/Principal    116.76
22       CIT BANK NA            Pre-Petition Arrears        11/19/2019   17191605Disbursement To Creditor/Principal     98.24
                                                                                      Total for Part 2 - B:         5,631.54




Form 4100N                                  Notice of Final Cure Payment                                                  page 3
